           Case 3:12-cr-00047-LRH-VPC                Document 11         Filed 05/03/12            Page 1 of 1

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AO 470 (Rev01/09)OrderSchedulingaDetenlionHearin:
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                      NEVA BILL                            )                                                        -'--'
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                         nepndant                          )
                                  O RDER SCHEDULING A DETENTION HEARING


         A detention hearing in thiscase isscheduled asfollow s:

Place: United StatesDistrictCourt                                  Courtroom No.: Two
        400 S.Virginia St.
        Reno,NV 89501                                              DateandTime: 5/8/12 11:00 am

       IT IS ORDERED: Pending the hearing,thedefendantisto be detained in thecustody ofthe United States
marshalorany otherauthorized officer.Thecustodian m ustbring thedefendantto the hearing atthetime date and
placesetforth above.




Date:          05/03/2012
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                                                                                   Judge'
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                                                                              am G.Cobb,U.S.Magistrate Judge
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